             Case 3:20-cr-00126-VC          Document 54       Filed 08/24/23      Page 1 of 2




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 CHRIS KALTSAS (NYBN 5460902)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: 415.436.7200
 7        Fax: 415.436.7432
          Chris.kaltsas2@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
   UNITED STATES OF AMERICA,                   ) CASE NO.: CR 20-0126 VC
13                                             )
          Plaintiff,                           ) APPLICATION OF THE UNITED STATES FOR
14                                             ) FINAL ORDER OF FORFEITURE
      v.                                       )
15                                             )
   RICHARD EUGENE HARTMAN,                     )
16                                             )
          Defendant.                           )
17                                             )
18
            On December 20, 2022, this Court entered, upon application of the government, a Preliminary
19
     Order of Forfeiture forfeiting the following property as to Richard Eugene Hartman, pursuant to Title
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     18, United States Code, Section 2253(a), Title 28, United States Code, Section 2461(c) and the
21
     procedures outlined in Rule 32.2 of the Federal Rules and Criminal Procedure and Title 21, United
22
     States Code, Section 853:
23
                •   PNY 128 GB USB Drive
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            The Preliminary Order required the United States to publish notice of the Order. Id. Beginning
25
     on January 31, 2023, the United States published for 30 days on the government website
26
     www.forfeiture.gov a notice of this forfeiture action, the Order, and the government’s intent to dispose
27
     of the property in accordance with the law. Dkt. 53. The notice advised potential third parties of their
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             Case 3:20-cr-00126-VC          Document 54         Filed 08/24/23      Page 2 of 2




 1 right to petition the Court within 30 days for a hearing to adjudicate the validity of their legal interest in

 2 the property. Id., Attachment 1.

 3          No petitions have been filed.

 4          The United States therefore respectfully requests that the Court enter the accompanying proposed

 5 Final Order of Forfeiture directing that the property described above be forfeited to the United States,

 6 pursuant to Title 18, United States Code, Section 2253(a), Title 28, United States Code, Section 2461(c)

 7 and the procedures outlined in Rule 32.2 of the Federal Rules and Criminal Procedure and Title 21,

 8 United States Code, Section 853.

 9 Dated: 08/24/2023                                       Respectfully submitted,

10                                                         ISMAIL J. RAMSEY
                                                           United States Attorney
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12
                                                                   /S/
13                                                         CHRIS KALTSAS
                                                           Assistant United States Attorney
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     APPLICATION OF THE UNITED STATES FOR A FINAL ORDER OF FORFEITURE
     CR 20-0126 VC                                 3
